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                                            605



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )   No. 4:09CR601 HEA
                                                )
REYNALDO REYES-FUENTES,                         )
                                                )
       Defendant.                               )

                                            ORDER

       IT IS HEREBY ORDERED that a change of plea hearing is set in this matter for

Thursday, July 8, 2010, at 11:00 a.m. in the courtroom of the undersigned.

       Dated this 30th day of June, 2010.




                                            ________________________________
                                               HENRY EDWARD AUTREY
                                             UNITED STATES DISTRICT JUDGE
